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       FARGO & COMPANY and WELLS                   FRIEDMAN and JAMES
  11   FARGO BANK, N.A.                            HERNANDEZ
  12
                              UNITED STATES DISTRICT COURT
  13
                            CENTRAL DISTRICT OF CALIFORNIA
  14

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       DANIEL FRIEDMAN, an individual,             Case No. 2:16-cv-07405
  16   and JAMES HERNANDEZ, an
       individual, individually and on behalf of   JOINT NOTICE OF SETTLEMENT
  17   all others similarly situated,
  18                Plaintiffs,
                                                   Judge: Virginia A. Phillips
  19         vs.                                   Ctrm.: 8A
  20   WELLS FARGO BANK, N.A., a
       National Banking Association, and
  21   WELLS FARGO & COMPANY, a
       Delaware Corporation, and DOES 1
  22   through 6,300, inclusive,
  23                Defendants.
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                                                                    JT. NOTICE OF SETTLEMENT
                                                                         CASE NO. 2:16-CV-07405
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   1         Plaintiffs Daniel Friedman and James Hernandez (“Plaintiffs”) and
   2   Defendants Wells Fargo Bank, N.A., and Wells Fargo & Company (collectively,
   3   “Wells Fargo”) hereby give notice that the parties have a reached a settlement of
   4   all claims in this matter. The parties are in the process of memorializing the terms
   5   of settlement and anticipate filing a stipulation of dismissal with prejudice within
   6   thirty (30) days of the filing of this notice. In the interests of judicial efficiency
   7   and economy, the parties jointly request that the Court cancel the hearing currently
   8   scheduled for Monday, August 7, 2017 on Wells Fargo’s motion to compel
   9   arbitration in light of the settlement.
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  12   DATED: August 6, 2017                     MUNGER, TOLLES & OLSON LLP
  13
                                                 By:    /s/ Erin J. Cox
  14                                                    Erin J. Cox
  15                                             Attorneys for Defendants
                                                 Wells Fargo Bank, N.A. and Wells Fargo &
  16
                                                 Co.
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  19   DATED: August 6, 2017                     LAW OFFICE OF CHRISTOPHER J.
  20
                                                 MOROSOFF

  21                                             By: /s/ Christopher J. Morosoff
                                                      Christopher J. Morosoff
  22

  23                                             Attorneys for Plaintiffs Daniel Friedman
                                                 and James Hernandez
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                                                                          JT. NOTICE OF SETTLEMENT
                                                                               CASE NO. 2:16-CV-07405
